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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


FEDERAL TRADE COMMISSION,

                               Plaintiff,
                                                         Civil Action No. 1:20-cv-03590 (JEB)
                        v.

FACEBOOK, INC.

                               Defendant.


     PLAINTIFF’S RESPONSE TO DEFENDANT’S NOTICE OF SUPPLEMENTAL
                              AUTHORITY

       Defendant, Facebook, Inc., has filed a notice of supplemental authority (ECF No. 64)

regarding AMG Capital Management, LLC v. FTC, No. 19-508 (U.S. Apr. 22, 2021), which

addressed the narrow question of whether Section 13(b) of the Federal Trade Commission Act,

15 U.S.C. § 53(b), authorizes the Federal Trade Commission (“FTC”) to seek retrospective

monetary relief. Slip Op. at 1, 14. Facebook incorrectly suggests that the Supreme Court’s

“reasoning” (ECF No. 64 at 2) undermines the FTC’s authority to seek prospective, permanent

injunctive relief in federal court to end Facebook’s ongoing monopolization of personal social

networking services in the United States. Facebook misreads AMG.

       Here, the FTC seeks prospective injunctive relief to remedy an ongoing violation of the

law. See ECF No. 59 (FTC Opp. Br.) at 41-42; ECF No. 51 (Revised Partially Redacted Compl.)

at 51-52 (“PRAYER FOR RELIEF”). The AMG Court affirmed that Section 13(b) authorizes

the FTC to seek such relief in federal court. Slip Op. at 8 (“Taken as a whole, [Section 13(b)]

focuses upon relief that is prospective, not retrospective.”).

       Facebook inaccurately suggests that the AMG Court held that the FTC can pursue

permanent injunctive relief “only” if it is “‘directly related’ to a preliminary injunction,” ECF
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No. 64 at 2, but Facebook simply invents the word “only,” which does not appear in the relevant

portion of the Court’s opinion. See id. (citing Slip Op. at 8). Facebook’s invented limitation

relies on an insupportable definition of “proper cases,” which Facebook inaccurately suggests

limits the FTC’s authority to obtain a permanent injunction solely to cases “where the proof

necessary to obtain a preliminary injunction halting ongoing or imminent conduct also

establishes the grounds for issuing a permanent injunction.” Id. Courts in this District have

repeatedly rejected this suggestion, and held that Section 13(b) empowers the FTC to seek a

permanent injunction where no preliminary injunction is sought. FTC v. Surescripts, LLC, 424

F. Supp. 3d 92, 100 (D.D.C. 2020) (where FTC sought permanent injunctive relief, not a

preliminary injunction, holding “the FTC’s complaint sufficiently pleads a ‘proper’ case for a

permanent injunction under Section 13(b)”); see Complaint, FTC v. Surescripts, LLC, 1:19-cv-

01080-JDB, ECF No. 4 (D.D.C. filed April 17, 2019) at 1, 54 (requesting permanent rather than

preliminary injunction). See also FTC v. Mylan Labs., Inc., 62 F. Supp. 2d 25, 36 (D.D.C. 1999)

(where FTC sought permanent injunctive relief, not a preliminary injunction, holding “this Court

finds that the permanent injunction proviso [of Section 13(b)] may be used to enjoin violations of

any provision of law enforced by the FTC”) (discussing FTC v. Abbott Laboratories, 1:92-

01364, 1992 U.S. Dist. LEXIS 18030 (D.D.C. 1992)).

       AMG does not undermine these precedents, and Facebook’s suggestion that the FTC must

request a preliminary injunction in order to obtain a permanent injunction contradicts the AMG

Court’s logic. The AMG Court held that as long as the FTC seeks prospective relief, Section

13(b) does not require the FTC to commence a parallel administrative proceeding: instead, “the

Commission may use §13(b) to obtain injunctive relief while administrative proceedings are

foreseen or in progress, or when it seeks only injunctive relief.” Slip Op. at 10 (emphasis



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added). In the latter situation addressed by the Court, in which the FTC does not initiate a

parallel administrative proceeding, the FTC will never have a need for provisional relief to allow

the conclusion of the parallel administrative action. The AMG Court clearly contemplated that in

such instances the FTC may “go one step beyond the provisional and . . . dispense with

administrative proceedings to seek what the words [of Section 13(b)] literally say (namely, an

injunction).” Id. at 8 (emphasis in original). And in such instances, since “provisional” relief

makes no sense, the FTC naturally may seek permanent injunctive relief, just as the FTC has

done in the instant matter and in prior cases such as FTC v. Surescripts and FTC v. Mylan.

Dated: April 30, 2021                                Respectfully submitted,

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